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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA

 JEAN LOUIS BARRETO-BAERGA,                                Case No. 25-cv-00098

       Plaintiff,

 v.

 OSCEOLA COUNTY, FLORIDA; MARCOS LOPEZ;
 DAVID CRAWFORD; CHRISTOPHER KOFFINAS;
 JOSEPH DEJESUS; ARTURO DOMINGUEZ; AND
 BENJAMIN MACLEAN,

     Defendants.
 _______________________________________/

                    Notice of Pendency of Other Actions

       In accordance with Local Rule 1.07, I certify that the instant action:

         IS         related to pending or closed civil or criminal case(s) previously
                    filed in this Court, or any other Federal or State court, or
                    administrative agency as indicated below:




 __X__ IS NOT       related to any pending or closed civil or criminal case filed with
                    this Court, or any other Federal or State court, or administrative
                    agency.

       I further certify that I will serve a copy of this Notice of Pendency of Other
 Actions upon each party no later than fourteen days after appearance of the party.

 Dated this 25th day of March 2025

 /s/ Summer M. Barranco                           _____________
 SUMMER M. BARRANCO, ESQUIRE
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 Attorneys for Defendant Crawford
Case 6:25-cv-00098-PGB-LHP     Document 38    Filed 03/25/25     Page 2 of 2 PageID 244




                           CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that I have electronically filed a copy of the forgoing
 with the Clerk of the Court by using the CM/ECF system, which will send a notice
 of electronic filing to: STEPHEN WEIL, ESQUIRE, Counsel for Plaintiff, 321
 North     Clark    St.,   Suite   900,   Chicago,    Illinois     60654,    (Email:
 aromanucci@rblaw.net; sweil@rblaw.net);      ALBERT JASON YONFA, JR.,
 ESQUIRE, Co-counsel for Plaintiff, 625 E. Colonial Dr., Orlando, FL 32803
 (Email: ayonfa@pendaslaw.com); BRUCE BOGAN, ESQUIRE, Counsel for
 Defendants Koffinas and Dominguez, 105 E. Robinson Street, Suite 201, Orlando,
 FL 32801 (Email: bbogan@hilyardlawfirm.com); THOMAS W. POULTON,
 ESQUIRE, Counsel for Defendants DeJesus, Maclean, Sheriff Lopez and Osceola
 County, 1035 S. Semoran Blvd, Suite 1010, Winter Park, FL 32792 (Email:
 poulton@debevoisepoulton.com) this 25th day of March, 2025.


                     /s/ Summer M. Barranco
                     SUMMER M. BARRANCO, ESQUIRE
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